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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA


REVEREND DARCY ROAKE and ADRIAN
VAN YOUNG, on behalf of themselves and on
behalf of their minor children, A.V. and S.V., et
al.,
                                                           CIVIL ACTION NO.
                Plaintiffs,
                                                           3:24-cv-00517-JWD-SDJ
                v.

CADE BRUMLEY, in his official capacity as
the Louisiana State Superintendent of
Education, et al.,

                Defendants.


     MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR EXPEDITED
            BRIEFING AND CONSIDERATION OF PLAINTIFFS’
               MOTION FOR PRELIMINARY INJUNCTION

        Plaintiffs move this Court to set an expedited schedule for the resolution of Plaintiffs’

Motion for Preliminary Injunction (ECF No. 20). Expedited briefing is necessary to prevent

immediate and irreparable harm to Plaintiffs. The plaintiffs in this case are parents of children who

attend Louisiana public schools, as well as the minor children themselves (on whose behalf the

parents sue). All the minor-child Plaintiffs will begin their 2024-25 academic year in August, with

some commencing school attendance as soon as August 8, 2024.1 Defendants are responsible for

implementing and administering House Bill No. 71, Act No. 676 (“H.B. 71” or the “Act”), which

requires that every elementary, secondary, and postsecondary public school in Louisiana install in

every classroom a permanent display featuring a state-prescribed version of the Ten



        1
          See, e.g., Owens Decl. (ECF No. 20-8) ¶ 8; Harding Decl. (ECF No. 20-7) ¶ 8; McCrory Decl. (ECF No.
20-11) ¶ 8; David Hawley Decl. (ECF No. 20-10) ¶ 2; Erin Hawley Decl. (ECF No. 20-9) ¶ 2; Rev. Williams Decl.
(ECF No. 20-2) ¶ 2; Rev. Broadhurst Decl. (ECF No. 20-4) ¶ 2.

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Commandments. Under the Act, which became effective on June 19, 2024, the mandatory displays

may be installed immediately and must be installed no later than January 1, 2025.

       As outlined in Plaintiffs’ Complaint (ECF No. 1) and Memorandum in Support of

Plaintiffs’ Motion for Preliminary Injunction, the Act is unquestionably unconstitutional. It

violates both the Establishment Clause and Free Exercise Clause of the First Amendment to the

U.S. Constitution. See Stone v. Graham, 449 U.S. 39 (1980) (striking down similar Kentucky law

requiring the Ten Commandments to be posted in public-school classrooms). Posting a state-

prescribed version of the Ten Commandments in each public-school classroom in Louisiana will

infringe Plaintiffs’ constitutional rights. This warrants expedited briefing and a prompt resolution,

as the “[l]oss of First Amendment freedoms, even for minimal periods of time, constitute[s]

irreparable injury.” See Ingebretsen v. Jackson Pub. Sch. Dist., 88 F.3d 274, 280 (5th Cir. 1996)

(citing Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion)).

       This Court has ample authority to expedite briefing and consideration of Plaintiffs’ Motion

for Preliminary Injunction. Under federal law, courts “shall expedite the consideration of . . . any

action for temporary or preliminary injunctive relief . . . if good cause [] is shown.”

28 U.S.C. § 1657(a). Good cause is shown “if a right under the Constitution . . . would be

maintained in a factual context that indicates that a request for expedited consideration has merit.”

Id. Enjoining Defendants from implementing and administering H.B. 71, and thus protecting

Plaintiffs’ First Amendment rights and maintaining the status quo, constitutes the precise factual

predicate contemplated in 28 U.S.C. § 1657(a). This Court also has broad discretion to manage its

docket by, among other things, setting timelines for hearings to resolve motions. L. Civ. R. 78; see

also Fed. R. Civ. P. 6(c)(l)(C).




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          Further, an expedited schedule is appropriate here because state officials knew that H.B.

71 would likely face swift legal challenge once it became law and, therefore, also knew that they

would need to be prepared for such litigation. For example, days before signing H.B. 71 into law,

Louisiana Governor Jeff Landry reportedly told a crowd at a political fundraiser: “I’m going home

to sign a bill that places the Ten Commandments in public classrooms. And I can’t wait to be

sued.”2

          Accordingly, Plaintiffs respectfully request an expedited briefing schedule under which

Defendants file any response to Plaintiffs’ Motion for Preliminary Injunction by July 19, 2024,

and Plaintiffs are granted leave to and file a reply brief by July 26, 2024. Plaintiffs respectfully

request a hearing on Plaintiffs’ Motion for Preliminary Injunction during the week of July 29,

2024. This proposed schedule would provide clarity to Defendants and Louisiana public-school

governing authorities before school begins on August 8, and—if the preliminary injunction is

granted—prevent irreparable harm to Plaintiffs and all Louisiana public-school students and

families.



Date: July 8, 2024                                        Respectfully submitted,

                                                          By: /s/ Charles Andrew Perry
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           Vivian Jones, Tennessee Republican Leaders Tout Trump, Set Sights on November During Annual
Fundraiser, TENNESSEAN (June 16, 2024), https://www.tennessean.com/story/news/politics/2024/06/16/tennessee-
republican-party-statesmens-dinner-leaders-eye-november-tout-trump-slam-guilty-verdict/73879046007/.

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